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Amended Complaint: To clarify Defendant listing to 2:18 CV 1054-MHT

January 10, 2019 US District Court 1 Church St, Room B110 Montgomery, AL 36104

Benjamin Vient
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217 West 18th Street #238
                                                 DEBi3A P.- HACKETT,
NY, NY 10011                                      U.S. OtSTRICT COURTCLK
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Plaintiff
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Complaint against:

Raycorn Media, Defendant 1:

(Legal Representatives: Ellenann Yelverton, John Alexander)

RSA Tower, 20th Floor, 201 Monroe Street, Montgomery, AL 36104



CNHI, Defendant 2:

(Legal Representative: Matt Gray)

445 Dexter Avenue Montgomery, AL 36104

Complaint:

This is a complaint for clear intellectual property and copyright infringement under the Copyright Act of
1976 (the "Copyright Acr), 17 U.S.C. §§ 101 et seq. Defendant has infringed upon Plaintiffs copyright
and intellectual property rights, including the rights to reproduce, the rights to distribute copies and the
rights to display copies of Plaintiffs works. Please see Exhibit.

N.B. The extent and timeline of infringement is information only the Defendant knows at this time, thus
necessitating the Motion for Discovery, in order to produce a factual list of infringements of works, and
appropriate damages and relief, in accordance with the Copyright Act of 1976 (the "Copyright Ace), 17
U.S.C. §§ 101 et seq.

Relief:

Plaintiff seeks relief of all remedies as accorded under the law, including an independent accounting of
usage of works, damages and statutory damages as available under the Copyright Act of 1976 (the
"Copyright Acr), 17 U.S.C. §§ 101 et seq., Plaintiffs legal fees and costs, preliminary and permanent
injunctive relief, other damages and relief related to the infringement of Plaintiffs intellectual property,
and further legal and equitable relief as the Court deems just and proper.

Signed: Benjamin Vient      bvient@outlook.com January 10, 2019
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New York NY 10011                                                                                                        LETTERSTREAM




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                                                1 Church St
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                                                Montgomery AL 36104
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